Case OO ee 152 Filed 08/08/06 Page1ofi Page ID #:176

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Name and address
DARLENE M. RICKER SBN 151653

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Svat Carty — ANIA
UNITED STATES DISTRICT COURT — gy OSTRIFT OF CALE
CENTRAL DISTRICT OF CALIFORNIA ~
UNITED STATES OF AMERICA, CASE NUMBER
Plaintiff) EDCRO05-069(B) VAP
¥.
ALEJANDRO MUJICA, ORDER ON
REQUEST FOR APPROVAL OF
SUBSTITUTION OF ATTORNEY
Defendant(s).

 

 

The Court hereby orders that the request of:

 

 

 

 

 

 

 

 

ALEJANDRO MUJICA O Plaintiff Wf Defendant O Other
Name of Party
to substitute KENNETH REED who is
C1 Retained Counsel — & Counsel appointed by the Court (Criminal cases only) OU Pro Se
aeoowestrinststReer 104. W. AM Struct , GC
Street Address
SANTA ANA,CA 92703-5155 kreed@1x.netcom.com
City, State, Zip E-Mail Address
(714) 953-7400 (714) 953-7412
Telephone Number Fax Number State Bar Number

as attorney of record in place and stead of DARLENE M. RICKER
Present Attorney

is hereby GRANTED 0 DENIED

os Aug Hd Visas lab

U. S pistrict Judge/U.S. Magistrate Judge

NOTICE TO COUNSEL : IF YOU ARE CURRENTLY ENROLLED IN THE OPTICAL SCANNING
PROGRAM AND HAVE CHANGED YOUR E-MAIL ADDRESS SINCE YOUR ENROLLMENT, YOU MUST_____-_—~
COMPLETE AN ENROLLMENT/UPDATE FORM (G-76) TO ENSURE THAT DOCUMENTS ARE'SERVER( i) : uM
AT THE PROPER E-MAIL ADDRESS. THIS FORM, AS WELL AS INFORMATION ABOUT THE OPTICAL
SCANNING PROGRAM IS AVAILABLE ON THE COURT’S WEBSITE AT WWW.CACD.USG oupTsEov. 0 ong6

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G-0l ORDER (06/05) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY BY
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